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 6

 7                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF CALIFORNIA
 8
                                                           Case No. 3:21-cv-01563-W-JLB
 9    MARTIA E. JOHNSON,
10                                                         NOTICE OF MOTION and PLAINTIFF’S
                         Plaintiff,                        MOTION FOR ATTORNEYS’ FEES
11                                                         AND COSTS
             v.
12    MIDLAND CREDIT MANAGEMENT, INC.,                     Judge Thomas J. Whelan
13
                         Defendant.
14

15
     TO ALL PARTIES AND THEIR RESPECTIVE COUNSEL OF RECORD:
16
        PLEASE TAKE NOTICE that on January 24, 2022 or as soon thereafter, I shall appear before
17
     Judge Thomas J. Whelan in and present Plaintiff’s Motion for Attorney’s Fees and Costs. Pursuant
18
     to L.R. 7.1(d) (1), there will be no oral arguments on this motion.
19

20      This motion is further based upon this notice of motion, accompanying memorandum of points

21   and authorities, the accompanying declaration of Alejandro E. Figueroa, on all pleadings and papers
22   filed in this matter, on any matter which this Court must or may take judicial notice and upon all
23
     evidence and arguments that this Court may permit at the time of the hearing of this motion.
24
     Dated: December 7, 2021                                /s/ Alejandro E. Figueroa
25

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                                                       1
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 1                         MEMORANDUM OF POINTS AND AUTHORITES
 2               Introduction
 3
             On September 3, 2021, Plaintiff filed a lawsuit against MIDLAND CREDIT
 4
     MANAGEMENT, INC. (“Defendant”) for allegedly violating the Fair Debt Collection Practices
 5
     Act (“FDCPA”) under 15 U.S.C. §1692 et seq. On November 12, 2021, Defendant submitted an
 6
     Offer of Judgment for “$1,100.00 plus reasonable attorneys’ fees and taxable costs” to Plaintiff’s
 7

 8   counsel. On November 23, 2021, Plaintiff accepted Defendant’s Offer of Judgement and filed a

 9   Notice of Acceptance with this Honorable Court. On November 23, 2021, the Clerk of the Court
10   entered a judgment in favor of Plaintiff and against Defendant in the amount of $1,100.00 plus
11
     reasonable cost and attorney’s fees, Dkt. No. 10. Plaintiff and Defendant have attempted to reach an
12
     agreement but, at this time, are at an impasse and require the Court’s assistance in determining
13
     Plaintiff’s reasonable attorney’s fees.
14

15           Argument

16       1. Plaintiff’s Attorney is Entitled to Award of Reasonable Attorney Fees Under the
            FDCPA
17
             The FDCPA requires the payment of costs and reasonable attorney fees to a successful
18

19   consumer. 15 U.S.C. §1692(k)(a)(3). The language of the FDCPA makes an award of attorney fees

20   mandatory. Camacho v. Bridgeport Fin. Inc. 523 F.3d 973, 978 (9th Cir. 2008). Here, Plaintiff

21   prevailed when she received a judgment in her favor, by and through Defendant’s offer of judgment
22
     wherein Defendant offered judgment in the amount of $1,100.00 dollars for Plaintiff’s damages
23
     and separately, Plaintiff’s reasonable attorney fees. Accordingly, Plaintiff is entitled to an award of
24
     her reasonable attorney fees herein.
25
         2. Plaintiff’s Attorney Fees Are Reasonable
26

27           In California and in the Ninth Circuit, the customary method of determining the permissible

28   amount of attorney fees is the “lodestar” method. PLCM Group, Inc. v. Plaintiff’s Motion for
                                                        2
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 1   Attorney Fees and Non-Taxable Costs Drexler, 22 Cal.4th 1084, 1095 (2000); Morales v. City of
 2   San Rafael, 96 F.3d 359, 363 (9th Cir. Cal. 1996). The lodestar method multiplies the number of
 3
     hours the prevailing party reasonably expended on the litigation by a reasonable hourly rate.
 4
     McGrath v. County of Nevada, 67 F.3d 248, 252 (9th Cir. Cal. 1995). Here, Plaintiff’s counsel has
 5
     submitted a declaration evidencing the reasonable hourly rate for his services and establishing the
 6

 7   number of hours spent working on the case, although California case law permits fee awards even

 8   in the absence of such detailed time sheets. Wershba v. Apple Computer, Inc., 91 Cal.App.4th 224,

 9   254-255 (2001).
10
                a. THE NUMBER OF HOURS EXPENDED ARE REASONABLE BECAUSE
11                 THEY ARE BASED UPON ACTUAL TIME SPENT

12          Exhibit A of this Motion contains an itemized list of attorney fees for this matter. These

13   entries were derived from Plaintiff’s counsel case management software where all time spent on a
14   case is billed. Below is a categorical summary of the time spent in this matter and Exhibit A
15
     contains a detailed description of the time spent in litigating this matter.
16
                             Description           Hours      Hourly Rate     Amount
17

18                     Drafting Complaint         4.7        $375.00          $1,762.50

19                     Review of Answer and 0.7              $375.00          $262.50
20                     26f Conference
                       Offer of Judgment work 2.9            $375.00          1,087.50
21

22                     Motion for Attorney 2.5               $375.00          $937.50
                       Fees
23
                       Administrative Fees for 2.7           $125.00          $337.50
24                     paralegal

25

26   Under federal law, “[t]here is a strong presumption that the lodestar figure represents a reasonable

27   fee. ‘Only in rare instances should the lodestar figure be adjusted on the basis of other
28
                                                         3
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 1   considerations.’” Morales v. City of San Rafael, 96 F.3d 359, 364 (9th Cir 1996) (internal citations
 2   omitted). If “[a] plaintiff has obtained excellent results, his attorney should recover a fully
 3
     compensatory fee. Normally, this will encompass all hours reasonably expended on the litigation,
 4
     and indeed in some cases of exceptional success an enhanced award may be justified.” Feminist
 5
     Women's Health Ctr. v. Blythe, 32 Cal.App.4th 1641, 1674, fn. 8 (1995), quoting Hensley v.
 6

 7   Eckerhart, 461 U.S. 424, 435 (1983). Under California law, the successful party ordinarily is

 8   entitled to a fully compensatory fee, which may be reduced only when special circumstances would

 9   render a fully compensatory award unjust. See Serrano v. Unruh (Serrano IV), 32 Cal.3d 621, 639
10
     (1982). The court is requested to award compensation for all hours spent to: Drafting Complaint
11
     (4.7 hours), Review of Answer and 26f Conference (0.7), Offer of Judgment work (2.9 hours),
12
     Motion for Attorney Fees (2.5 hours), and Administrative fee for paralegal (2.7).
13
                          i.      Drafting the Complaint
14

15           Plaintiff’s counsel spent a total of 4.7 hours drafting this Complaint. Drafting and revising

16   the complaint was required for Plaintiff’s counsel to file the instant lawsuit.
17                  ii.        Offer of Judgment
18
            Defendant sent Plaintiff’s Counsel an Offer of Judgment on November 12, 2021. Plaintiff’s
19
     counsel spent time reviewing this Offer of Judgment and then explaining it to Plaintiff. In addition
20
     to this, Plaintiff’s counsel was required to draft a Notice of Acceptance and file it with this
21

22   Honorable Court to accept Defendant’s Offer of Judgment. Lastly, Plaintiff’s counsel reached out

23   to Defendant’s counsel to negotiate his attorney fees, but negotiations were unsuccessful.

24                  iii.       Review of Answer and Affirmative Defenses and Rule 26f Conference
25          On November 9, 2021, this Honorable Court entered a Notice and Order setting a Case
26
     Management Conference for December 16, 2021 and ordered both parties to submit a Joint
27
     Discovery Plan by December 6, 2021. In order to prepare the Joint Discovery Plan, Plaintiff’s
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                                                        4
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 1   counsel conducted a Rule 26f Conference on November 20, 2021 and reviewed the Answer
 2   Defendant filed on November 8, 2021.
 3
                         iv.      Motion for Attorney Fees
 4
                The Ninth Circuit allows the recovery of attorney fees for time spent preparing and filing a
 5
     motion for attorney fees and costs. Jordan v. Multnomah County, 815 F.2d 1258, 1261, 1264 (9th
 6

 7   Cir. 1987). Exhibit A submitted by Plaintiff's counsel detail the time expended in this litigation as

 8   of the date this motion is filed.

 9                       v.       Administrative Fee for Paralegal
10
                This matter required some administrative tasks, which were performed by the undersigned
11
     attorney’s paralegals. These tasks include: filing documents and motions and preparing itemization
12
     of attorney’s fees.
13
         b. COUNSEL’S HOURLY RATE IS REASONABLE AND CONSISTENT WITH
14
     MARKET RATES
15
                         i. Hourly Rate of $375.00 per hour for Attorney charged in this Case is
16   Reasonable
17              The undersigned counsel current and customary rate is $450.00 per hour. For this lawsuit,
18
     he is asking for a rate of $375.00.
19
                The United States Consumer Law Bankruptcy Survey Report for California, 2017-2018
20
     Edition1 amply justifies the undersigned hourly rate. According to this survey, p. 63, the 75%
21

22   Median Attorney Rate for All Attorneys is $500/hour for California Consumer Attorney. Thus, the

23   hourly rate of $375.00 is very reasonable. The majority of district courts in California will consider

24   the Fee Survey Report as evidence of prevailing hourly rates in cases involving consumer protection
25   statutes. See Davis v. Hollins Law, 25 F.Supp.3d 1292, 1299 (E.D. Cal. 2014) (citing district court
26
     cases that have relied on the report).
27

28   1
         https://www.nclc.org/images/pdf/litigation/tools/report-atty-fee-survey.pdf
                                                                   5
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 1           Furthermore, the undersigned counsel was awarded this rate in another matter in the State
 2   of California. See Angela Robinson v. Miller Stark Klein and Associates, Case No. 2:19-cv-04444-
 3
     DMG-KS.
 4
             ii. Hourly Rate of $125.00 per hour for Paralegal charged in this Case is Reasonable
 5
         Plaintiff’s paralegal’s hourly rate of $125.00 is reasonable and it is comparable to other
 6

 7   paralegals hourly rate in this District. According to United States Consumer Law Bankruptcy

 8   Survey Report for California, 2017-2018 on p. 63 the average billable rate for paralegal is $161.00.

 9   Furthermore, Plaintiff’s counsel’s paralegals have been awarded this rate in another matter filed in
10
     the State of California. See Angela Robinson v. Miller Stark Klein and Associates, Case No. 2:19-
11
     cv-04444-DMG-KS.
12
     3. Filing Costs
13
         Plaintiff is seeking costs of $402.00 incurred to litigate this case. See Exhibit C, Plaintiff’s Proof
14

15   of Costs. Plaintiff is seeking his filing costs for filing this instant lawsuit. The aforementioned costs

16   were necessary, are reasonable by any standard, and should be granted.
17                                              CONCLUSION
18
         Based upon the lodestar calculation, attorney fees should be awarded to Plaintiff for $4,387.50.
19
     An award for costs of $402.00 are sought, and should be awarded as well.
20
     Dated: December 7, 2021                                  Respectfully submitted,
21
                                                              /s/ Alejandro E. Figueroa
22                                                            Alejandro E. Figueroa
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26
                                                              Counsel for Plaintiff
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                                                          6
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 1
                                      CERTIFICATE OF SERVICE
 2

 3           I hereby certify that on December 7, 2021, I electronically filed the foregoing with the Clerk
     of the Court for the United States District Court for the Southern District of California by using
 4   the CM/ECF system.

 5                                                          /s/ Alejandro E. Figueroa
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